Case 1:06-cv-01760-BEL Document 1 Filed 07/11/06 Page 1 of 13

UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
NORTHERN DIVISION

UNITED STATES OF AMERICA, )
950 Pennsylvania Avenue, N.W. )
Washington, D.C. 20530 )
)
)
Plaintiff, )
)
V. )
)

YOUTH SERVICES INTERNATIONAL, INC., _) No.
1819 Main Street, Suite 1000 )
Sarasota, Florida 34236 )
County of Residence: Frederick )

) JURY TRIAL DEMANDED

)
Defendant. )
)

COMPLAINT

For its Complaint against Youth Services International, Inc. (“YSI°’) the United States of
America (“United States’) alleges as follows:
Jurisdiction and Venue
1. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1345 and
42 U.S.C. § 12188(b)(1)(B). The Court may grant the relief sought in this action
pursuant to 42 U.S.C. § 12188(b)(2) and 28 U.S.C. §§ 2201-2202.
2. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial part of

the acts and omissions giving rise to this action occurred in the State of Maryland.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 2 of 13

Nature of Action
This is an action by the Attorney General of the United States resolving allegations of
discrimination under Title III of the Americans with Disabilities Act (ADA), 42 U.S.C.
§§ 12131 et seq., and the Department of Justice’s implementing regulation, 28 C.F.R. pt.
36. The parties agreed to a settlement agreement in March 2004 intended to ensure that
individuals who are deaf or hard of hearing have access to appropriate auxiliary aids and
services as necessary for effective communication in the programs and services offered
by the Defendant in the juvenile justice facilities that the Defendant owns and/or
operates. The Defendant failed to comply fully with the terms of the March 2004
Settlement Agreement, and efforts to obtain full compliance with the Settlement
Agreement and Title III of the ADA without resort to litigation have failed. Therefore,
the United States asks this Court to require the Defendant to comply with Title III of the
ADA and the implementing regulation.
The Department of Justice received a timely complaint filed by a deaf individual (the
“Complainant”) alleging that he had been discriminated against on the basis of his
disability by the Defendant in violation of Title III of the ADA. Pursuant to Title II of
the ADA, 42 U.S.C. §§ 12181-12189, and the Department of Justice’s implementing
regulation, 28 C.F.R. pt. 36, the Department of Justice investigated the complaint,
determined that the allegations of discrimination on the basis of disability were true, and

notified the Defendant of this determination.

10.

11.

12.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 3 of 13

Following protracted negotiations, the Department of Justice and the Defendant agreed to
the terms of a Settlement Agreement resolving the allegations of discrimination. The
Settlement Agreement became effective on March 29, 2004.
The United States has complied fully with the terms of the March 2004 Settlement
Agreement. In contrast, the Defendant has failed to comply fully with the terms of the
March 2004 Settlement Agreement.
The allegations of discrimination set forth in this Complaint constitute a pattern or
practice of discrimination under Title III, 42 U.S.C. § 12188(b)(1)(B)(i) and 28 C.F.R.
§ 36.503(a).
Defendant’s discrimination against persons who are deaf or hard of hearing on the basis
of disability raises an issue of general public importance, see 42 U.S.C.
§ 12188(b)(1)(B)(ii) and 28 C.F.R. § 36.503(b).
All conditions precedent to the filing of this suit have been performed or have
occurred.
This Complaint seeks declaratory and injunctive relief, compensatory damages, and civil
penalties against Defendant.

Parties
The Attorney General of the United States is the federal official charged by statute with
enforcement of Title III of the ADA. See 42 U.S.C. § 12188(b).
YSI is a Maryland corporation with its principal place of business in Sarasota, Florida.

YSI operates approximately 17 juvenile justice facilities in the United States. YSI

13.

14.

15.

16.

17.

18.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 4 of 13

provides educational and social services to residents of these facilities. One such facility
was the Victor Cullen Center in Sabillasville, Maryland, which YSI operated from 1997
to 2002 pursuant to a contract with the Maryland Department of Juvenile Services.
Pursuant to 42 U.S.C. § 12181(7) and 28 C.F.R. § 36.104, the juvenile justice facilities
operated by YSI are places of public accommodation. YSI is a private entity within the
meaning of section 301 of the ADA, 42 U.S.C. § 12181, and thus is subject to the
requirements of Title HI of the ADA, 42 U.S.C. §§ 12181-12189.
At the time this claim arose and until November 2005, YSI was a wholly-owned
subsidiary of Correctional Services Corporation, a Delaware corporation with its
principal place of business in Sarasota, Florida. In November 2005, CSC was acquired
by the GEO Group; YSI and the youth services programs operated by CSC were divested
and sold back to the former CEO of CSC.

General Allegations
The Complainant is deaf and therefore is an individual with a disability as defined in the
ADA, 42 U.S.C. § 12102(2); 28 C.F.R. § 36.104.
The Complainant uses American Sign Language (ASL) for in-person communications.
He does not communicate effectively by lipreading.
The Complainant was a resident at the Victor Cullen Center (“Victor Cullen’’) in
Sabillasville, Maryland, from September 24, 1999, through October 27, 2000.
During his stay at Victor Cullen, the Complainant was required to participate in a variety

of educational, rehabilitative, and recreational programs without the benefit of

19,

20.

21,

22.

23.

24.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 5 of 13

appropriate auxiliary aids and services, including sign language interpreters.

The Defendant’s failure to provide the Complainant with appropriate auxiliary aids and
services, including sign language interpreters, while he was detained at Victor Cullen
greatly reduced or eliminated his benefit from the programs offered at Victor Cullen and
caused him to suffer emotional harm.

After his release from Victor Cullen, the Complainant was required to participate in an
aftercare program as a condition of his release.

The Complainant attended only three of the six scheduled meetings that were part of the
aftercare program, in part because no appropriate auxiliary aids and services, including
sign language interpreters, were provided during that program.

The Defendant’s failure to provide the Complainant with appropriate auxiliary aids and
services, including sign language interpreters, during the aftercare program greatly
reduced or eliminated his benefit from this program.

Based on what happened to the Complainant and a review of the Defendant’s policies
and practices, the United States made a finding that the Defendant had engaged in a
pattern and practice of discrimination, in violation of Title III of the ADA.

Upon information and belief, other individuals in addition to the Complainant have been
discriminated against on the basis of disability by the Defendant because, among other
things, they did not provide those individuals with appropriate auxiliary aids and services
where necessary for effective communication while participating in the Defendant’s

programs or receiving the Defendant’s services.

25.

26.

27.

28.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 6 of 13

Settlement Agreement

The March 2004 Settlement Agreement includes equitable provisions requiring the
Defendant to implement practices and policies designed to remedy the violations found
prior to that date and to ensure compliance with Title III of the ADA; it includes a
provision for the payment of money damages to the Complainant; and it requires the
Defendant to make a monetary payment to the United States.

In exchange for the Defendant’s promise to comply with terms of the March 2004
Settlement Agreement, the United States agreed that the Settlement Agreement would
constitute a full, complete, and final disposition of its investigation of the Complainant’s
complaint. See Settlement Agreement § 11.

The Defendant has paid money damages to the Complainant and made a monetary
payment to the United States in compliance with the monetary provisions of the March
2004 Settlement Agreement.

The equitable provisions of the March 2004 Settlement Agreement require the
Defendant, among other things, to ensure that appropriate auxiliary aids and services are
made available to all juveniles participating in the Defendant’s programs and services
who are deaf or hard of hearing where such aids and services are necessary for effective
communication; to evaluate juveniles within 24 hours of admission to one of Defendant’s
facilities to determine what, if any, auxiliary aids or services are necessary; to ensure that
qualified sign language interpreters or qualified oral interpreters are provided for

juveniles whose primary means of communication is sign language or lip reading,

29.

30.

31.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 7 of 13

respectively; to maintain at least one qualified sign language interpreter and one qualified
oral interpreter on call during those times when no such interpreter is on the Defendant’s
premises; to establish procedures for acquiring interpretation services; to ensure that at
least one telecommunications device for the deaf (TTY or TDD) is available for use by a
deaf or hard of hearing juvenile; to ensure that visual alarms are provided for a juvenile
who is deaf or hard of hearing; and to develop and implement a staff training curriculum
encompassing the policies and practices described in the March 2004 Settlement
Agreement.

Pursuant to paragraph 17.1 of the March 2004 Settlement Agreement, the Defendant was
required to provide the Department of Justice with periodic reports detailing efforts to
comply with the equitable terms of the Settlement Agreement. The first such report was
due on June 29, 2004. The second such report was due on December 29, 2004. The third
such report was due on June 29, 2005.

The Defendant failed to provide any and all of the reports in a timely manner. It was not
until August 8, 2005, after numerous requests by the United States, that the Defendant
provided a report. The report indicated widespread lack of compliance with the March
2004 Settlement Agreement from March 2004 until August 2005.

Pursuant to paragraph 17.3 of the March 2004 Settlement Agreement, if the United States
believes that the Defendant is not in compliance with the Settlement Agreement or any
requirement contained therein, the United States agrees to notify the Defendant in writing

of the alleged noncompliance and attempt to seek a resolution of the matter with the

32.

33.

34,

35.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 8 of 13

Defendant.

Pursuant to paragraph 17.3 of the March 2004 Settlement Agreement, if the United States
and the Defendant are unable to reach a resolution within sixty (60) days of the United
States’ written notification, the United States may bring an action to enforce the ADA in
any United States District Court where jurisdiction and venue are proper.

On August 9, 2004, July 13, 2005, and August 19, 2005, the United States provided
written notification as required by paragraph 17.3 of the March 2004 Settlement
Agreement that it believed YSI was not in compliance with the March 2004 Settlement
Agreement.

From August 29 through September 2, 2005, the Department conducted compliance
reviews of six YSI facilities: Reflections Treatment Agency, Tennessee; Okaloosa
County Juvenile Residential Facility, Florida; Thompson Academy, Florida; Forest Ridge
Youth Services, lowa; Elmore Academy, Minnesota; and Chamberlain Academy, South
Dakota.

The Department’s compliance reviews confirmed that the Defendant was failing to
comply with the terms of the March 2004 Settlement Agreement. Among the many
violations the Department noted were the following: Defendant’s failure to ensure that
appropriate auxiliary aids and services were made available to all YSI residents in a
timely manner and in all programs and activities; Defendant’s failure to provide
information and request forms to youth who are hard of hearing so that they could request

appropriate auxiliary aids and services; Defendant’s failure to ensure that accessible

36.

37.

38.

39.

40.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 9 of 13

phones are present in each facility, that at least one TTY device was available for use
during the time youths who are hard of hearing were residing in a facility operated by the
Defendant, and that consideration was given for additional phone time to appropriate
residents; and Defendant’s failure to ensure the presence of appropriate visual alarms for
residents who are deaf or hard of hearing.

Based on the Department’s compliance reviews and other information provided by the
Defendant, the United States believes that the Defendant has not complied with the
equitable provisions set forth in the March 2004 Settlement Agreement.

For these same reasons, the United States has reason to believe that the pattern or practice
of discrimination that it found during the investigation of the complainant’s allegations
persists.

Therefore, consistent with paragraph 17.3 of the March 2004 Settlement Agreement, the
United States is bringing this action to enforce the Defendant’s full compliance with Title
III of the ADA and the implementing regulation.

COUNT I
Violations of Title III of the ADA

The allegations of Paragraphs 1 through 38 of the Complaint are hereby re-alleged and
incorporated by reference as if fully stated herein.

In failing to provide the Complainant and other individuals who are deaf or hard of
hearing with appropriate auxiliary aids and services, including sign language interpreters,

YSI discriminated on the basis of disability in violation of Title III of the ADA, 42

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 10 of 13

U.S.C. §§ 12181-12189, and the Department of Justice’s implementing regulation, 28

C.F.R. pt. 36, by:

A. Discriminating on the basis of disability in the full and equal enjoyment of the
goods, services, facilities, privileges, advantages, or accommodations of a place
of public accommodation, in violation of 42 U.S.C. § 12182(a) and 28 C.F.R.

§ 36.201(a);

B. Subjecting individuals on the basis of a disability to a denial of the equal
opportunity to participate in or equal benefit from the goods, services, facilities,
privileges, advantages, or accommodations of a place of public accommodation,
in violation of 42 U.S.C. § 12182(b)(1)(A)(i) and 28 C.F.R. § 36.202(a);

C. Affording individuals on the basis of a disability with an opportunity to
participate in or benefit from goods, services, facilities, privileges, advantages or
accommodations in a manner that is not equal to that afforded to others, in
violation of 42 U.S.C. § 12182(b)(1)(A)(ii) and 28 C.F.R. § 36.202(b);

D. Failing to make reasonable modifications in policies, practices, or procedures
when necessary to afford services to individuals with disabilities, in violation of
42 U.S.C. § 12182(b)(2)(A) (ii) and 28 C.F.R. § 36.302(a);

E. Failing to take such steps as were necessary to ensure that individuals with
disabilities are not excluded, denied services, segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and

services, in violation of 42 U.S.C. § 12182(b)(2)(A)(iii) and 28 C.F.R.

10

41.

42.

43.

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 11 of 13

§ 36.303(a); and,

F, Failing to remove architectural barriers in YSI facilities, including
communication barriers that are structural in nature, where such removal is
readily achievable in violation of 42 U.S.C. § 12182(b)(2)(A)(iv) and 28 C.F.R.

§ 36.304(a).

YSI’s policies, practices, and procedures alleged herein constitute a pattern or practice of

discrimination in violation of Title III of the ADA, 42 U.S.C. §§ 12181-12189, and the

Department of Justice’s implementing regulation, 28 C.F.R. pt. 36.

The discrimination alleged in this count raise an issue of general public importance

pursuant to 42 U.S.C. § 12188(b)(1)(B) and 28 C.F.R. § 36.503.

Pursuant to paragraph 17.3 of the March 2004 Settlement Agreement, the Defendant’s

violations of the terms of the Settlement Agreement shall be treated as violations of Title

III of the ADA.

PRAYER FOR RELIEF

WHEREFORE, the United States prays that the Court:

A.

Declare that the discriminatory practices, policies, and/or procedures of YSI, as set forth
above, violate Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12181-
12189, and the Department of Justice's implementing regulation, 28 C.F.R. part 36;
Enjoin the Defendant, its officers, agents, and employees, and all other persons in active
concert or participation with any of them, from discriminating on the basis of disability

against any individual receiving goods or services from, or participating in programs

1]

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 12 of 13

provided by the Defendant;
Award monetary damages to any persons other than the Complainant who have been
harmed by the Defendant’s patterns or practices of discrimination, to compensate them
for injuries resulting from such discrimination, including damages for pain and suffering;
and
Order such other appropriate relief as the interests of justice may require.

JURY DEMAND

The United States requests a jury trial.

12

Case 1:06-cv-01760-BEL Document1 Filed 07/11/06 Page 13 of 13

Respectfully submitted,

ALBERTO R. GONZALES
Attorney General of the United States

WAN J. KIM
Assistant Attortfey General
Civil Rights Division
Ath L peek
ine WODATCH, Chief
L NE BOWEN, Deputy Chief
PNYLIP L. BREEN, Special Legal Counsel

Disability Rights Section
Civil Rights Division

Vy alah fi

ELIZABE TH J SON
JANINE oer T

Trial Attorneys

Disability Rights Section

Civil Rights Division

U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530

Telephone: (202) 307-3543 or (202) 305-8710

ROD J. ROSENSTEIN

United States Attorney

JAMIE M. BENNETT
Assistant United States Attorney
District of Maryland

36 South Charles Street

Fourth Floor

Baltimore, MD 21201
Telephone: (410) 209-4800
Fax: (410) 962-2310

E-mail: elizabeth.johnson@usdoj.gov or janine.scott@usdoj.gov

Fax: (202) 307-1197

pare: Luby 10,2006

13

